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IN THE UNITED STATES DISTRICT C()URT
FOR THE DISTRICT OF DELAWARE

PARTNERS HEALTHCARE SOLUTIONS
' HOLDINGS, L.P.,

Plaintiff,
V.
UNIVERSAL AMERICAN CORP.,

Defendant.

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) C.A. No. 13-1767-RGA
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EXHIBIT 1 TO DEFENDANT UNIVERSAL AMERICAN CORP.’S
OPENING BRIEF IN SUPPORT OF ITS
MOTION TO DISMISS PLAINTIFF’S COMPLAINT

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EXHIBIT 1-

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IN THE UNlTED STA'FES DISTRlCT COURT
FOR THE DlSTRICT OF DELAWARE

UNlVERSAL AMERICAN CORP.,
Plaintift`,

v. C.A. NO. 13~
PARTNE`,RS HEALTHCARE SOLUTIONS
HOLDTNGS, L.P., GTCR GOLDER
RAUNER H, L.L.C., GTCR PAR'E`NERS IX,
L.P., GTCR FUND lX/A, L.P., GTCR FUND
lX/B, L.P., GTCR CO~INVEST lll, L.P.,
DAVID KATZ, GREGORY SCOTT,
JEROME VACCARO and JOHN
MCDONOUGH,

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Det`endants.

Complaint

Plaintit`f Universaf Ame'ricah Cerp. (“Universai”), for its Compfaint against Defendants
Partners Healthcare Selutic)'ns Holdings, L.P. (“APSLP”), GTCR Golder Rauner ll, L.L.C.
(“GTCR”), GTCR Partners IX, L.P. (“GTCR Partners lX”), GTCR Fund IX/A, L.P. (“GTCR
Fund IX/A”), GTCR Fund IX/B, L.P. (“GTCR Fund lX/B”), GTCR Co-Invest lll, L.P. (“GTCR
CO-lnvest”) and David Katz (“Katz” and, together with GTCR, GTCR Partners IX, GTCR Fund
IX/A, GTCR Fund lX/B, and GTCR Co-invest, the “GTCR Defendants”), Gregory Scott
(“Scott”), Jerome Vacearo (“Vaccaro”), and John McDonough (“McDonough,” and together

with Seott and Vacearo, the “Individual Det`endants”), States as toliows:

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Sumrnary of the Action

l. This action seeks redress for the fraudulent sale ofPartners Healthcare Solutions,
Inc. (“APS” or the “Cornpany”) to Universal in March 20l2. APS is a specialty healthcare
company providing care management, behavioral health, and disease management services to
state l\/ledicaid agencies and private health plans. APSLP, the GTCR Defendants and the
lndividual Defendants (collectively, “Defendants”) knew that APS’s business was disintegrating
but nonetheless fraudulently induced Universal to purchase APS for $222.3 million through a
systematic course of material misrepresentations and omissions calculated to camouflage the
truth.

2. These misrepresentations and omissions inciuded, among others: (a) contractual
representations and warranties that APS was not in default of any of its material contracts; (b)
contractual representations and warranties that there had been no material adverse changes in
Universal’s business; (c) contractual representations and warranties that APS owned outright a
computer software program that it described as the “chassis” of its business; (d) a budget
representing that APS would achieve 2012 earnings before interest, taxes, depreciation and
amortization (“EBITDA”) of $25.5 million from its existing contracts; and (e) a budget and other
documents asserting that APS would achieve 2012 EBITDA of $19.3 million from a pipeline of
contracts that had been “won” or that it was “highly likely” to win.

3. immediately after the Defendants received their payments for the deal, the ugly
truth about APS’s business began to emerge as all of these representations (and many others)
turned out to be false and misleading Within two weeks after the transaction closed, Universal
learned that APS’s single largest customer, representing 40 percent of the Company’s revenues,
had told Defendants prior to closing that APS was in default of its contract; that customer later
levied a $5 million tine. Simiiarly, within a few months, Universal learned that-as APS well

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knew and anticipatedmrnany ofAPS’s largest customers were terminating their contracts or had
cut back on the services that APS would be providing to them. A new contract that Defendants
represented had already been “won” by APS was in fact awarded to a competitor. The pipeline
of new business that Defendants had concocted for Universal’s consumption dematerialized; of
more than 30 potential contracts that APS had identified as likely to provide revenue in 20`12,
only two in fact generated revenue in that year. When Universal sought to develop an upgrade of
APS’s key software program, it learned that nearly half of its code came from software licensed
from a third party, contrary to Defendants’ representation that APS owned that critical software
Similariy, shortly before Universal executed the agreement to acquire APS, APS gave Universal
a 2012 budget forecasting that APS would earn $44.8 million in EBlTDA; APS confirmed that
budget again only two days before the merger closed on March 2, 2012. But within six weeks of
closing, Universal was told that the forecast had dropped 40 percent, to $27.1 million; within
four months of closing, Universal was told that the forecast was down 90 percent, at $4.1

million. Upon receiving this news, Universal imposed unplanned corporate expense reductions,
enabling APS to eke out $8 million EBlTDA_ in 2012.

4. These disastrous results were not a product of happenstance Rather, Defendants
engaged in a deliberate campaign to conceal the truth about APS prior to the close of the
transaction The avalanche of bad news about APS’s business that did not come to Universal’s
attention until just after the March 2, 2012 closing, the complete evaporation of APS’s income
within months, and the sheer number of misrepresentations and omissions in the Merger
Agreement, dated as of January ll, 2012 (the “Merger Agreement”) and Defendants’ other
statements to Universal are all telltale signs of fraud. But while the circumstantial evidence of
Defendants’ fraudulent intent is powerful, the specific examples of Defendants’ actual

knowledge that their representations were false are irrefutable For example:

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(a) At a meeting with a senior official and representative of APS’s largest customer,
Customer A, Defendants Scott and Vaccaro were told that APS was in breach of its contract, that
a fine would be levied and that the Cornpany was at risk of losing the contract altogether.
Universal had asked Scott and Vaccaro numerous times about the status of this important
customer contract, but neither of them mentioned the meeting or the troubling message that had
been delivered to them. 'I.`o the contrary, APS expressly represented in the Merger Agreement
that it was not in breach of the contract with Customer A, and that it had not received any
indication that the important contract with Customer A might be terminated

(b) Another important APS customer, Customer B, sent APS a written notice telling
the Company that it had not complied with the terms of the parties’ contract and had imposed a
Corrective Action Plari. APS nonetheless expressly warranted in the Merger Agreement that it
was not in breach of Customer B’s contract.

(c) APS was required to notify Universal of all known material adverse effects prior
to the closing of the merger, but did not inform Universal of the loss of a material contract with
Customer C or other material adverse effects that together reduced APS’s 2012 EBITDA by
more than $1 1 million, or 25 percent Defendants were well aware of these serious problems
before Universal acquired APS, and knew of their catastrophic impact on APS’s 2012 budget;
nonetheless, Defendants fraudulently confirmed the 20l2 budget as late as February 29, 2012
and misrepresented at the closing on l\/larch 2, 2012 that no material adverse effects had
occurred

(d) APS’s presentations to Universal highlighted its c‘proprietary” computer software
(the “Software”), which it described as the “chassis” of the Company’s service offerings ]n the

l\./lerger Agreement and Company Disclosure Letter, APS represented that it “owned” the

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Software. On the contrary, the Software was just a customization of a product licensed from a
third partyJ as APS’s senior executives knew.

(e) APS’s presentations to Universal emphasized a “pipeline” of new contracts that it
anticipated would yield revenue in 20l2. The presentations, which were reviewed and approved
by GTCR, inflated the probabilities and the revenue for these prospectsl The pipelines that
Defendants fed to Universal bore little connection to reality or to the internal pipeline documents
that were prepared by the APS development teain, distributed to Vaccaro and l\/chonough, and
discussed by all of the Individual Defendants at monthly meetings The Defendants’ own einails
show that they fraudulently reverse-engineered the Universal pipeline presentations to generate
EBlTDA projections that would mask the deterioration of APS’s business.

5. Defendants’ systematic misrepresentations and omissions regarding APS’s
business constitute securities fraud and common law fraud. ln addition, Defendant APSLP has

breached the covenants, representations and warranties in the Merger Agreement.

Parties

6. Plaintiff Universal is a corporation organized under the laws of the State of
Delaware, with its principal place of business in White Plains, New York. Universal’s common
stock is publicly traded on the New York Stock Exchange.

7. Defendant GTCR, a Delaware LLC, is a private equity firm with its principal
place of business in Chicago, lllinois. GTCR is general partner of Defendants GTCR Co-lnvest
and GTCR Partncrs lX.

8. Defendant GTCR Partners lX is the general partner of Defendants GTCR Fund
lX/A and GTCR Fund lX/B, and is a limited partnership organized under the laws of the State of

Delaware.

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9. Defendants GTCR Fund lX/A, GTCR Fund lX/B, and GTCR Co-lnvest
(collectively, the “GTCR Limited Guarantors”) are limited partnerships organized under the laws
of the State ofDelaware. Under the Limited Guaranty provided for by the Merger Agreement,
the GTCR Limited Guarantors guaranteed the indemnification obligations of Defendant APSLP,
as described more fully below.

10. Defendant David Katz is a l\/fanaging Director of Defendant GTCR and co-head
of its healthcare group. Katz was a member of APS’s Board of Directors before Universal
acquired APS. On information and belief, Katz is a resident and citizen of the State of illinois

ll. Defendant APSLP is a Delaware limited partnership that was formed by the
GTCR Defendants in 2007 to hold APS. Each of the GTCR Limited Guarantors and each of the
individual Defendants is a limited partner of APSLP.

12. Non-party APS is a Delaware corporation with its principal place of business in
White Plains, New York.

13. Defendant Gregory Scott was, prior to the acquisition ofAPS by Universal, the
Chief Executive Officer of APS. Scott became co-President of Universal. Scott also served as
President and Chief Executive Officer of APSLP and signed the Merger Agreement on behalf of
both APSLP and APS. Scott is a resident and citizen of the State of California.

14. Defendant lerome Vaccaro was at all times relevant to this Complaint the
President of APS and, until approximately l\/larch 2012, its Chief Operating Officer. Vaccaro
also served as Vice President of APSLP. Vaccaro is a resident and citizen of the State of New
York.

15. Defendant John l\/chonough was at all times relevant to this Complaint the Chief
Financial Officer of APS. l\/chonough also served as Treasurer ofAPSLP. l\/chonough is a
resident and citizen of the State of New fersey.

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Jurisdiction and Venue

16. This action includes claims arising under Sections 10(b) and 20(a) of the
Exchange Act of 1934 (the “Exchange Act”), l5 U.S.C. §§ 7 Sj(b) and 78t(a), and Rule 10b-5
promulgated thereunder by the SEC, 17 C.F.R. § 240.10b-5.

17. This Court has jurisdiction over the subject matter of this action pursuant to 28
U.S.C. § 1331 (federal question jurisdiction), 28 U.S.C. § `l367(a) (supplemental jurisdiction),
and Section 27 of the Exchange Act.

18. Venue is proper in this District pursuant to Section 27 of the Exchange Act, 28
U.S.C. §l39l(b), and the consent to jurisdiction and venue provisions in the l\/lerger Agreement
and related agreements

19. ln connection with the acts alleged in this Complaint, Defendants, directly or
indirectly, used the means and instrumentalities of interstate commerce, including, but not
limited to, the maiis, interstate telephone communications, or the facilities of the New York
Stock Exchange, a national securities market.

20. ln Section S.S(a) of the l\/lerger Agreement, APSLP agreed to submit to the
jurisdiction of this Court for any action arising out of or relating to the l\/lerger Agreement.

2l. Under Section 16 of the Limited Guaranty provided to Universal at Closing, the
GTCR Limited Guarantors agreed to submit to the jurisdiction of this Court for any action

arising out of or relating to the Lirnited Guaranty.

Background F acts
The Businesses of Universal and APS
22. Universal provides healthcare products and programs, including Medicare
Advantage plans. Through its family of healthcare subsidiaries, Universal provides insurance

and health benefits primarily to people enrolled in the federal Medicare program, working
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together with healthcare professionals in order to improve the health and well-being of plan
members

23. APS provides specialty healthcare solutions primarily to state l\/ledicaid agencies
APS Healthcare offers a broad range of healthcare solutions including case management and
care coordination, clinical quality and utilization review, and behavioral health services that
enable its customers to improve the quality of care and reduce healthcare costs APS uses the
Software to provide these services

24. A significant portion of APS’s business involves serving as a contractor to public-
entities, primarily state Medicaid agencies In general, APS enters into these contracts as a result
of a competitive bidding process, in which the state agencies issue requests for proposals
(“RFPS”) detailing the services they require. APS also contracts with private health plans, often
as a subcontractor when the private health plan contracts with public entities

25. l\/fany of APS’s contracts with state agencies permit the counterparty to terminate
the contract at its convenience, without cause. Non-compliance with contract terms may also
have regulatory consequences Accordingly, maintaining high levels of contract performance,
contract compliance and customer satisfaction are essential to APS’s continued business and

financial health.

GTCR Acquires APS

26. GTCR is a private equity firm with approximately 37 billion in assets under
management ln 2007, GTCR acquired APS for $285 million. APSLP was formed in order to
hold APS for the benefit, upon information and belief, of the GTCR Limited Guarantors or other
GTCR affiliates Upon information and belief, when the GTCR Defendants acquired APS, they

intended to hold APS for three to five years and then sell the Company at a profit.

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27 . At all times relevant to this Complaint, GTCR controlled APS and its board. The
five-member board of directors was comprised of Defendant Scott, Defendant Katz, Nolan,
Douglas Present, and Ruben King-Shaw. Defendant Katz was a Managing Director of GTCR
who had been associated with the firm since 2006; Nolan had been a Principal at GTCR since
1996. Douglas Present was the former Chairman and CEO of l\/fanaged Health Care Associates
and, according to GTCR’s website, was one of GTCR’s “Management Leaders.”

28. Other GTCR personnel also interacted directly with APS senior management
Those individuals included Joshua Earl, who became a GTCR Principal in 2012, and john Kos,
who became a GTCR Vice President in 201 1.

29. On its Website, GTCR touts its “strong proactive efforts” at its portfolio
companies Those efforts were evident here: Defendant Katz, Nolan, Earl, and Kos all
maintained close contact with Scott and Vaccaro through frequent telephone conversations and
e-mail messages; moreover, Defendant Katz and l\lolan and other board members met at least

quarterly to review APS’s business and financial results

APS’s Financial Performance Disappoints GTCR

30. APS was a disappointing acquisition for GTCR. The Company was never able to
show consistent growth. When GTCR acquired APS for $285 million in 2007, the Company
earned 826.9 million in EBITDA. APS managed to generate over 840 million EBl"fDA in 2008
and 2009, but that figure declined in 2010. For 2011, APS budgeted $332.3 million in revenue
and 835.4 million in EBITDA but ultimately took in only $313.3 million in revenue,
corresponding to $3 l .7 million in EBlTDA.

31. GTCR’s efforts to turn the Company around were not successful The Company
was losing contracts with existing customers; as Defendant Katz acknowledged in a November

30, 2011 einail to Defendant Scott, the “contract churn is killing us.” Moreover, some of the
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new contracts that the Company was signing were not profitable ln early 201 l, APS learned
that it had seriously underestimated the cost of performing a new contract for Customer D, the
Company’s third largest contract. As a result, the contract was far less profitable than budgeted,
losing money by the end of 201 1. By the end of the second quarter of 201 l, the contract with
Customer D was 81 .5 million behind budget for that quarter alone, as reflected in a July 28, 201 l
Financial Performance report that McDonough presented to APS’s Board of Directors.

32. Private equity funds such as GTCR commonly hold their investments for a five-
year period. But as Defendant Katz stated in a June 16, 201 l email to Defendant Scott, it had
become apparent to the Defendants that GTCR’s plan to sell APS by 2012, which would be five
years after its initial investment, was “increasingly aggressive and unrealistic” given APS’s
inability to maintain its existing customer base or to show consistent growth. ln lurie 2011,
GTCR summoned Scott to a meeting in Chicago to address its concerns By that time, GTCR
expected that it would have to hold its investment in APS for at least another two to four years

33. The situation was exacerbated by APS’s debt burden. ln 201 l, APS had
approximately 8150 million of debt on its balance sheet. Beginning in September 201 l, APS
was in breach of certain of its loan covenants If the banks were to declare a default on APS’s
loans and foreclose on GTCR’s equity interest in APS, GTCR would lose its entire $285 million

investment in the Company.

The Parties Engage in l\/Ierger Discussions in the Late Summer and Fall of 2011

34. ln late summer 2011, Universal’s chairman, wholly unaware of APS’s struggles
and problems, suggested in a conversation with Defendant Scott that a strategic combination of
APS and Universal might make sense At the time, GTCR had all but abandoned hope of selling
APS within its initial five-year target, and was at risk of losing its entire investment The

Defendants immediately seized upon this lifeline and commenced discussions with Universal.
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35. ln connection with their sales efforts the individual Defendants made a
presentation to Universal senior management on August 18, 2011. GTCR’s Earl was present at
this meeting and conveyed what had happened at the meeting to Defendant Katz and, on
information and belief, Nolan, Tliis presentation (the “August Presentation”) included, among
other things:

(a) projected income statements for 2012 through 201 6, which forecast 852 million in
EBITDA for 2012;

(b) the annual EBlTDA contributions from APS’s most significant contracts and the
contracts’ maturity dates, including an assertion that the contract with Customer D generated
millions of dollars of EBITDA annually, even though the Defendants were all aware of that
contract’s unprofitability;

(c) a robust pipeline of new business anticipated iri 2012, projected to generate 831.7
million in EBITDA in 2012;

(d) statements that APS expected to expand its contracts with multiple states,
including Customer E and Customer F; and

(e) a statement that the Software used to provide APS’s services was a “proprietary,
web-based and HIPAA compliant platform.”

36. On October 7, 201 l, the individual Defendants made a presentation to the
Universal Board of Directors. The presentation (the “October Presentation”) included all of the
projections and other statements described in paragraph 35, above. fn particular, the presentation
projected the same 852 million in EBITDA for 2012 and $31.7 million in EBlTDA from new
business as had the August Presentation.

37. The individual Defendants knew, however, that the business pipeline had
deteriorated in the interim; Defendant l\/chonough had prepared updated slides projecting only

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$26.5 million in EBlTDA from new business a decline of $5.2 million (or 17 percent) since the
August Presentation six weeks earlier. These slides were not included in the October
Presentation, purportedly because of a clerical error. But even though the lndividual Defendants
were alerted to the putative error before making the presentation, they still proceeded to present
the incorrect and grossly overstated numbers without any correction.

38. The lndividual Defendants had powerful motives to conceal the truth about APS’s
business from Universal. in a Universal transaction, they would be able to exchange their
illiquid and worthless APS shares for valuable, publicly traded shares of Universal. They would
also increase their personal compensation by as much as 40 percent, as detailed in paragraph
105, below. The GTCR Defendants had an even greater motivationw-to avoid the loss of their
entire investment in the event of a default

39. Based on Defendants’ presentations and representations Universal expressed its
interest in acquiring APS after the October 7 meeting. Universal and APS tentatively agreed
upon a purchase price. Universal undertook a due diligence process in which it engaged a
l\/ledicaid consulting firm, a “Big Four” accounting firm and two prominent law firms to help it

examine APS.

APS’s Business Continues to Deteriorate

40. After its discussions with Universal had commenced, APS learned of serious
threats to its existing contracts On November 16, 201 l, Defendants Vaccaro and Scott received
a message from a board member of Customer A-APS’s largest customer, and a governmental
entity_who also had been assigned by the Governor of Customer A to oversee Customer A’s
l\/ledicaid operations The message stated: “For the last few months we have been discussing

with your local management several areas of concern pertinent to APS’s operations which l

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believe you should be aware of.” The APS contract with Customer A generated $130.6 million
in revenue, or 41 .7 percent of the Company’s total 201 1 revenue of 8313.3 million.

41. Vaccaro immediately recognized the gravity of the situation, writing to Scott,
“[t]his is very concerning.” Early on the morning of November 22, 2011, Defendants Scott and
Vaccaro and another APS executive met in New York with the representative of Customer A.

42. Vaccaro’s concern was justified At the Novernber 22 meeting, Customer A
complained that APS was in breach of its contract because, among other things APS had not
provided on-site mental health services at one-third of the sites that were covered by the contract;
did not have two in-patient facilities in each of the customer’s geographic regions as required by
the contract; and was not properly handling either member calls or provider payments The
Customer A contract mandated professional support at every one of its sites Defendants Scott
and Vaccaro were told that Customer A intended to send APS a notice of deficiency and impose
a fine.

43. ln fact, as Defendant Scott said in an e-inail that he sent to Defendant Vaccaro
and the head of APS’s operations for Customer A on November 22, 201 l, he understood
Customer A to be threatening “the loss of our contract.” lie followed up by meeting with the
Governor of Customer A on December 1, 2011. On information and belief, Defendant Katz and
Nolan were informed of both of these meetings shortly after they occurred

44, ln October 201 1, a private health plan customer, Customer B, informed APS in
writing of material deficiencies in the performance of a contract for services in California.
Defendant Vaccaro met directly with Customer 13 to discuss those breaches Shortly thereafter,
Customer B imposed a Corrective Action Plan on the Company. Although Customer 13 had
previously contemplated that the California contract, which began in June 201 l, would be
expanded to other states APS was notified in October 2011 that Customer B would not partner

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with APS in one of those states South Carolina. Subsequently.J in or around early November,
APS was informed that Customer B would not award any new business to APS until the
Company’s performance in California improved

45. Also around this time APS learned that Customer F, where APS had its second-
largest contract, was likely moving patients then served by APS’s Primary Care Case
Management (“PCCl\/l”) contract into managed care, which would result in a significant loss of
revenue and profits

46. ln addition to these threats to its existing contracts APS’s pipeline of new
business was in free fall. On November l5, 2011, Defendant McDonough prepared another
iteration of the new business pipeline for presentation to Universal at a meeting the following
week. This draft pipeline, which was circulated to Defendant Scott and Defendant Vaccaro (but
not to Universal), projected only $18.1 million in EBlTDA from new business for 2012, a
dramatic decline of 43 percent from the $31.7 million that had been shown to Universal in
August and October.

47. APS was also in breach of its loan covenants On September 30, 201 1, APS went
into default on its covenants regarding capital expenditures By October 31, 201 1, the Company
was also in default of its covenants regarding the ratio ofAdjusted Debt to EBITDA and the ratio
of Senior Adjusted Debt to EBlTDA. in an email exchange between Defendant Scott and Nolan
on November 30, 2011, Scott acknowledged the gravity of a covenant default and its impact on
APS’s future prospects “[W]e probably cannot win another piece of business if we are in

default, so the whole thing will then come crashing down.”

Discussions Between Universal and APS Break Down

48. On November 22J 201 1J Universal and APS held a meeting to discuss the

potential acquisition (the “November l\/leeting”). Defendants Scott, Vaccaro and McDonough
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attended the meeting, as did Defendant Katz and Earl of GTCR. During this meeting, APS made
another written presentation to Universal, this time with updated projections Defendants utterly
failed to tell Universal the truth about their deteriorating business

a. APS did not tell Universal that the new business pipeline had dropped from $31.7
million to $18.l million, as l\/chonough had concludedjust a few days earlier. Rather, after
Defendants l\/chonough, Vaccaro and Scott had met to discuss the draft presentation, the
Defendants presented Universal with a new bogus version of the pipeline showing that APS
projected $28.6 million EBITDA from new business and a budget showing that APS projected
$46.7 million oftotal EBlTDA in 2012.

b. Nor did any of the Defendants say anything about the meeting earlier that same
day among Defendants Scott and Vaccaro, and Customer A, in which APS had been told about
substantial breaches in the performance of its contract and the potential for a fine and possible
loss of the contract The Defendants maintained their silence even though they knew that
Universal was keenly interested in this important contract and had asked APS to come to the
meeting prepared to address “provider disputes in [Customer A’s location] and any reserves” as
spelled out in a November 19, 2011 email from Universal’s chief financial officer. They
presented an estimate for 2012 EBlTDA that included earnings from the contract with
Customer A, even though they knew that the contract was at risk and that APS faced, at the least,
a substantial fine.

49. APS also tried to hide what it had learned about the potential for a significant
reduction in its contract with Customer F, a state agency. But Universal had independently
learned about the potential move to managed care in that state, and confronted APS and GTCR
with this information at the November 22 meeting. The Defendants downplayed the significance

of the move and suggested that APS would have other opportunities with Customer F, and that
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the income from Customer F might even increase The discussion foundered and the meeting
ended

50. Shortly afterwards Universal told GTCR and APS that it was no longer willing to
acquire APS at the price the parties had been discussing Universal explained to GTCR that it
was concerned about the significant effect that a reduction in the contract with Customer F
would have on APS’s business ln addition to the loss of revenue and income, as a result of this

change APS would be even more heavily dependent on a single large customer, Customer A.

Universal Offers to Acquire APS at a Lower Price

51. Discussions between Universal and GTCR resumed when Defendant Katz later
suggested that Universal make a reduced offer. APS and GTCR provided Universal with
additional financial inforrnation. in particular, on December 12, 201 1, APS sent financials
including estimated 2011 results (including EBITDA) and projected results including EBITDA,
for 2012 through 2016 (the “2012 Projections”). On December 30, 2011, APS sent Universal its
2012 budget (the “2012 Budget”), this time forecasting 844.8 million in total EBI'I_`DA in 2012.
APS also sent Universal an updated new business pipeline (the “December 30 Pipeline”).

52. APS lacked any reasonable basis to believe that it could attain the revenue and
EBITDA projected in the 2012 Budget and the December 30 Pipeline. APS knew that it was
misrepresenting the probabilities of winning several of these opportunities in particular the four
opportunities with Customer B. lndeed, APS’s internal documents described the potential
contract with Customer B in South Carolina as “lost” and the contemporaneous presentations
made to the APS board (including GTCR’s Katz and Nolan) ceased listing it as a prospect
Nonetheless, the December 30 Pipeline given to Universal described that “|ost” prospect in

South Carolina as 75 to 90 percent “likely” to be awarded to APS. APS’s internal documents

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also said that no new contracts would be awarded to APS by Customer B unless APS fixed the
shortcomings in its performance in California.

53. The 2012 Budget that APS sent to Universal assumed that all of its existing
contracts would continue through their full term. The budget also reflected APS’s purported
expectation that a contract with Customer E covering Seniors and Persons with Disabilities
(“SPD”) would expand in 2012 to include 30,000 new rural members The budget also assumed
that APS would win the rebid of a contract for Population Health l\/fanagement (“PHl\/l”) with
Customer G, even though the Defendants all knew that was unlikely to occur.

54. ln December 2011, Universal personnel visited APS facilities in Customer A’s
location as part of their due diligence for the transaction Defendants were concerned that
U`niversal might discover that APS was in breach of its contract with Customer A; Defendant
Katz wrote to Defendant Scott, “the less time there the better.” Although Universal requested an
opportunity to speak with Customer A personnel during that visit, Defendants refused to arrange
for a meeting, claiming that it was inappropriate to do so because Universal had not yet signed a
contract ln fact, Defendants’ real motivation was fraudulently to conceal Customer A’s strained
relationship with APS, its claim that APS was in breach of its contract, and the threat to
terminate that contract

55. Universal Was aware that APS had entered into a Corporate lntegrity Agreement,
dated February 18, 2011, with the Office of the lnspector General of the Department of Health
and Huma'n Services to resolve a False Claims Act lawsuit As a result, Universal’s due
diligence paid close attention to APS’s efforts to monitor compliance with its contracts APS
executives (including Defendant Scott) assured Universal at a meeting in APS’s offices on

January 4, 2012 that APS had remedied any shortcomings in its compliance programs identified

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as part of the False Claims Act case and that APS was now in compliance with its contracts and
all applicable laws Defendant Katz of GTCR participated in this meeting by telephone

56. Based on APS’s false representations and omissions Universal offered to pay
$227.5 million to acquire APS. The offer reflected a 7.58 multiple to APS’s anticipated 2011
EB]TDA of 830 million. Universal also offered to make an additional payment should APS’s

post-acquisition performance in 2012 and 2013 meet certain thresholds.

The Merger Agreement

57. On January ll, 2012, Universal, APSLP and APS entered into the l\/lerger
Agreement, pursuant to which APS was to be merged into a subsidiary of Universal. The
Merger Agreement provided that 880 million of the 8227.5 million purchase price was payable
to APSLP in the form of shares of Universal common stock, while the rest was payable in cash.
The Merger Agreement also provided for an additional payment should APS’s 2012 EBITDA
exceed $30 million.

58. As material inducements for Universal to enter into the Merger Agreernent, the
Company made extensive representations and warranties to Universal in Article 3 of the l\/lerger
Agreement. Among other things APS represented and warranted that:

(a) the Company was not in material breach or default of any of its material contracts
except as disclosed in the Company Disclosure Letter, and that to its knowledge including the
knowledge of Defendants Scott, Vaccaro and McDonough, none of its counterparties had
“indicated to the Company or any of its Subsidiaries its intent to cancel, terminate or modify . . .
in a manner adverse in any material respect to the Company” any material contract l\/lerger
Agreement § 3.17;

(b) more specifically, that there was no breach, violation or default of the contract

with Customer A, except as disclosed in Section 3.29 of the Company Disclosure Letter, and that
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APS had not “received written notice of any such breach, violation or default” of the contract
with Customer A. l\/lerger Agreernent § 3.29. The Company Disclosure Letter, in turn, disclosed
only that APS was “discussing the appropriate measure of network adequacy (for providers with
multiple offices) with [Customer A],” without mentioning the other contract deficiencies
discussed during the November 22, 2011 meeting and without disclosing that APS had been told
at that meeting that it would receive a notice of deficiency and be assessed a substantial fine;

(c) since January l, 2006, the Company had not violated or incurred any material
liabilities under any healthcare laws (“Healthcare Laws”), and that to its knowledge including
the knowledge of Defendants Scott, Vaccaro, and i\/chonough, there were no facts
circumstances or events that could reasonably be expected to give rise to such liability. l\/ferger
Agreernent § 3.25(a);

(d) since l\/larch 23, 201 l, the date of its prior audited financial statements except as
disclosed in the Company Disclosure Letter, there had “not been any fact, event, circumstance
change occurrence effect or condition that has had or would reasonably be expected to have
individually or in the aggregate a Company Material Adverse Effect.” Merger Agreement
§ 3.9;‘ and

(e) the Company “owned” certain software enumerated in the Company Disclosure

Letter. l\/ierger Agreement § 3.16(a).

 

A Company Material Adverse Effect is defined in Section l.l of the l\/lerger Agreernent as “any
fact, event, circumstance change occurrence effect or condition which, individually cr in the
aggregate (taking into account all other such facts events circumstances changes occurrences
effects or conditions), has had or would reasonably be expected to have a material adverse effect
on (A) the financial condition, business or results of operations of the Company and its
Subsidiaries taken as a whole or (B) the ability of the Company to timely consummate the
transactions contemplated hereby.” The definition explicitly provides that “any fact, event,
circumstance change occurrence effect or condition underlying any failure to meet any . . .
projections forecasts or revenue or earnings predictions [for any period ending on or after the
date of this Agreement] shall be taken into account in determining whether a Company l\/laterial
Adverse Effect has occurred or would reasonably be expected to occur.”

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59. Universal reasonably relied upon the representations and warranties in the Merger
Agreement when it executed that agreement Although the broad contours of APS’s business
and the nature of its customers were known to Universal, it was impossible for Universal to
know the specific information that Defendants either misrepresented or concealed regarding
those representations

60. in addition to making these representations and warranties the Company also
made a number of covenants as to the conduct of its business including information to be
provided to Universal, during the period from January ll, 2012 through the closing. Those
covenants included, among others that prior to Closing, APS wouid “promptly” notify Universal
if it obtained “Knowledge of any fact, event, circumstance change occurrence effect or
condition that [APS] believes would reasonably be expected to cause any of conditions to
Closing set forth in Section 6.] or Section 6.2 to be not satisfied or fulfilled.” l\/Ierger Agreement
§ 5.2(h). “Knowledge” includes matters known to Defendants Scott, Vaccaro and McDonough.

6`1. As conditions to closing, Section 6.2 of the l\/ierger Agreement required that: the
representations and warranties of the Company be true and correct as of the date of closing
(l\/Ierger Agreement § 6.2(a)); the Company shall have complied with all of its covenants under
the Merger Agreement (Merger Agreement § 6.2(b)); and there shall have been no “event,
development or occurrence of any condition that has had, or would reasonably be expected to
have individually or in the aggregate a Company Material Adverse Effect,” on APS’s business
or financial condition (l\/lerger Agreement § 6.2(c)). At ciosi'ng, APS was obligated to provide “a
certificate of an officer of the Company, dated the Closing Date” certifying APS’s compliance

with each of these conditions Merger Agreement § 6.2(h)(i).

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The Deterioration of APS’s Business Between Signing and Closing

62. After the Merger Agreement was executed, APS’s customer relationships and
business prospects accelerated their downward spiral. Except as otherwise noted below, none of
these facts was disclosed to Universal as required by the l\/_Ierger Agreement:

(a) At a meeting held on or about January 1_7, 2012, APS employees learned that
Customer H had not mandated that physicians and other providers use the Company’s web-based
portal for “utilization management,” i.c., the submission of requests of approval for services As
a result, Vaccaro and, on information and beiief, the other Defendants knew that APS would
experience a signihcant shortfall in the net income that it had projected for that contract in 2012
but failed to inform Universai of this fact.

(b) One of APS’s largest contracts was to provide services for Customer E’s Adult
Day Health Care (“ADHC”) program. The 2012 budget contemplated that this contract would
contribute over 10 percent of APS’s projected 2012 budget of $44.8 miilion in EBITDA.
Beneficiaries of ADHC sued Customer E; in a settlement announced in November 201 l and
approved by the court in January 2012, after the Merger Agreement was signed, many
participants in the program would be moved to managed care programs and hence would no
longer be served by APS. Vaccaro, McDonough, and, on information and belief, the other
Defendants were aware of the adverse impact that this settlement would have on APS’s business
but failed to inform Universal of this fact. To the contrary, McDonough fraudulently concealed
the impact by telling Universal that the settlement would give APS an opportunity to expand its
programs with Customer E.

(c) On or about January 20, 20l2, APS was told that a new contract with
Customer E’s County Medical Services Program (“Cl\/ISP”), with projected annual revenue of 34

million, would be reduced in scope to $2 million. Vaccaro, McDonough, and, on information

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and belief`, the other Defendants were aware of the reduction but failed to inform Universal of
this fact.

(d) By letter dated February 1, 2012, Customer B notified APS that it was
terminating its California contract with APS. On February 15, 2012, Customer B sent APS a
post-termination letter, addressed to Defendant Vaccaro, referring to the Company’s “rnateriai
deficiencies” in performance APS informed Universal of this termination but did not tell
Universal of the role APS’s defective performance had played in that termination or that its prior
predictions of increased business with Customer B were baseless APS did not even send
Universal a copy of the February 15 letter citing APS’s “material deficiencies.” To the contrary,
APS falsely informed Universal’s chief executive officer and board that Customer B had
terminated the contract because it did not want to do business with a Universal-owned company.

(e) APS’s contractual relationship with Customer C had begun in 2005, and was one
of the Company’s longest standing and most successful relationships The 2012 budget given to
Universal contemplated that a five-year renewal of the contract with Customer C would
contribute more than five percent of the budgeted $44.8 of million EBITDA for 2012. On
February 1, 2012, Defendants Vaccaro and McDonough received written notice that Customer C
would be putting out a new RFP for the five-year renewal, which had previously been awarded
to APS. APS was told that the new RFP had been issued because the newly appointed
Customer C director did not want to hire APS because the Company had paid a 313 million fine
for alleged violations of the federal False Claims Act and state law. Defendants Scott and
Vaccaro knew of Customer C’s concern about the False Claims Act settlement Under these
circumstances it was virtually certain that Customer C would not award the contract to APS.
Even though the Defendants knew that APS had lost the contract with Customer C, they failed to
inform Universal of that fact or the new RFP.

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(f) On or about February 6, 2012, APS learned that one of its competitors had been
selected for the renewal of the PHl\/I contract with Customer G for a term beginning July ], 2012
and, accordingly, that the revenue and income for that contract in APS’s 2012 budget would
have to be reduced. l\/IcDonough, Vaccaro and, on information and belief, the other Defendants
were aware of this loss and the impact it would have on APS’s 2012 budget but failed to inform
Universai of those facts

(g) On February 13, 2012, Customer D notified APS by letter that Customer D would
put APS’S existing contract with Customer D out for rebid for the contract year starting January
i, 2013. APS’s contract with Customer D, its third largest contract, would otherwise have lasted
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2012-more than two weeks after receiving it, and only two days before the scheduled closing of
the merger, Critically, none of the Defendants informed Universal that Customer D was
dissatisfied with APS’s performance and therefore unlikely to award the rebid contract to the
()anany.

(b) After the Merger Agreement was signed, in mid-January 2012, each of the
individual Defendants and, on information and belief, the other Defendants became aware that
APS’s 2012 EBlTDA budget had been overstated by Sl.§ million as a result of a purported error
in calculating the earnings from APS’s largest contract, Customer A. Universal was not
informed of this error or its negative impact on APS’s 2012 budget

63, These events individually and in the aggregate had a material adverse effect on
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ADHC program, APS continued to deceive Universai by asserting that they would have a
positive impact on APS’s business

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64. Notwithstanding the torrent of undisclosed bad news APS repeated its rosy
projections for 2012 when it had no reasonable basis to do so. For example:

(a) On February 2, 2012, APS delivered to Universal the last new business pipeline
that Universal would receive before Closing (the “February 2 Pipeline”). That pipeline
camouflaged known losses of contracts that had previously been in the pipeline such as the
prospective contracts with Customer B that APS could no longer pretend were plausible
opportunities by adding eight new contracts that had not appeared on any previous pipeline
accounting for $4.7 million in projected 2012 EBITDA contribution Only one of these eight
new contracts was ever executed, resulting in 2012 EBITDA of $250,000.

(b) Th.e February 2 Pipeline showed the same level of 2012 EBITDA contribution
from the contract with Customer H as APS had provided to Universal in the December 30
Pipeline, even though the EBITDA contribution projection could no longer be valid after the
January 17, 2012 meeting in which APS learned that Customer H would not mandate use of
APS’s web portal. APS’s cost projections had assumed that physicians would use the web
portal, but without the mandate APS was forced to incur significant additional costs.

(c) On or about February 14, 2012, Defendant McDonough spoke with Universal’s
chief financial officer to discuss APS’s January 2012 results On that call, McDonough
reaffirmed APS’s 2012 budget forecast This affirmation implied that APS would see income
from the Customer C contract then subject to rebidding and would receive all projected income
from the PHl\/l contract with Customer G for the rest of the year, and concealed the $1.5 million
error in the budget for the contract with Customer A. McDonough also assured Universal’s chief
financial officer that APS’s 2012 results would recover from a 14 percent shortfall ($293,000) in

APS’s January 2012 EBITDA.

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(d) On or about February 29_, 2012, Universal’s chief financial officer spoke with
Defendant l\/icDonough for a pre-Closing update on APS’s financial condition During this call,
McDonough again fraudulently reaffirmed APS’s bogus 2012 budget forecast of $44.8 million
EBlTDA.

65. Defendant McDonough’s confirmations of the December 30 Budget were
knowingly false. The undisclosed material adverse effects regarding Customers A, B, C, E, and
H alone would be expected to reduce APS’s forecast of 2012 EBlTDA by over $ll million, or
25 percent; this figure does not even account for the substantial fine that Customer A was
threatening to impose

66. The closing date for the merger was March 2, 2012 (the “Ciosing Date”). On that
date Defendant Scott, acting for the benefit of all Defendants executed and filed a Certificate of
Merger merging APS Merger Sub, lnc. with and into APS with the Secretary of State of the State
of Delaware Each of the Defendants knew or had reason to know that the Certificate of ]\/Ierger
would be filed in the State of Delaware The filing of the Certificate of Merger in Delaware was
a direct and foreseeable result of the Defendants’ scheme to defraud Universal.

67. On l\/iarch 2, 2012, APS delivered the Officer’s Certificate required by Section
6.2(h)(i) of the l\/Ierger Agreement to Universal. Defendant Scott signed the Officer’s Certificate
certifying on behalf of APS that all of the representations and warranties in Section 3 of the
l\/Ierger Agreement were true including, among other things that there had been no material
adverse changes in APS’s business since January 1 l, 2012, and that it was not in breach of the
contract with Customer A or its other material contracts The Officer’s Certificate failed to
disclose any of the facts described in paragraphs 62 through 65, above. All of these

representations were false.

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68. On l\/larch 2, 2012, Universal paid $147.8 million in cash, which was used to
retire debt, and approximately 6.5 million shares of Universal stock, then worth $76.7 million.
The total purchase price after post-closing working capital adjustments was $222.3 million.
Universal reasonably relied upon the representations made in the Merger Agreement, Company
Disclosure Letter and the Officer’s Certificate as well as the representations made in various

presentations made to Universal when it made these payments

Post-Closing Revelations of APS’s Actual Business Conduct

69. lmmediately after the March 2, 2012 Closing Date Universal began to learn about
the deterioration in APS’s customer relationships and business that Defendants had previously
hidden from Universal. Among other things

(a) By a letter dated March l6, 2012, Customer A formally notified APS that it was
in default of its contract and demanded $l.88 million in penalties precisely as Scott and Vaccaro
had been told four months earlier. When this letter arrived, the head of APS’s operations for
Customer A confessed to Universal that it had been “expected.” By letters dated May 18, 2012
and June 22, 2012, Customer A increased its demand to $5 million. On December 21, 2012,
Universal, with the knowledge and consent of GTCR, settled the dispute and paid $3 million to
Customer A. Universal has incurred considerable additional expenses to bring APS into
compliance with its obligations under the contract with Customer A.

(b) The number of persons in APS’s care in the ADHC program of Customer E fell
from 37,000 to less than 1,400. As a result, that contract fell 82 percent short of its projected
EBlTDA contribution to the 2012 Budget, a shortfall of several million dollars

(c) Customer E did not expand membership in its SPD program. As a 'result, that
contract fell 83 percent short of its projected EBlTDA contribution to the 2012 Budget, another

seven'figure shortfall.
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(d) As Defendants knew but did not disclose Customer H refused to mandate that
healthcare providers use APS’s web-based portal for APS’s Utilization Management contract
As a result, that contract’s 2012 EBiTDA contribution was actually negative falling nearly $2
million short of its projected contribution to APS’s 2012 EBITDA budget

(e) Confirming what APS essentially knew prior to Closing, in l\/lay 2012, APS was
formally informed that the Customer C contract had been awarded to one of its competitors The
loss of the Customer C contract ultimately accounted for another significant shortfall to the 2012
Budget.

(t) Audits ofAPS contracts with Customer l and a contract with Customer E for the
management of persons with Severe Mental lllness (“Sl\/II”) disclosed deficiencies in the
performance of those two contracts

70. The combined effect of these and other events was catastrophic. By April 10,
2012_-less than six weeks after Defendant l\/chonough’s reaffirmation of the 2012 budget of
344.8 million EBITDA_APS informed Universal that it then forecast only $2?.1 million
EBITDA for the year, a decline of 40 percent By July 13, 20l2, APS informed Universal that it
then forecast only $4.1 million EBiTDA for the year, a calamitous decline of more than 90
percent lt was only after making unplanned corporate expense reductions that APS was able to
generate a scant 358 million of EBlTDA in 2012. Universal initially allocated $l63 million of
APS’s purchase price to goodwill; in its SEC Form 10~Q filing for the second quarter of2013,
filed on August 9, 2013, Universal announced that it was writing down the goodwill from the
APS acquisition by $91.7 million on a pre-tax basis

71 . The onslaught of revelations in the weeks and months after Universal acquired
APS was no accident; Defendants knew of these material adverse facts at the time the Merger

Agreement was executed on January 11 and at the time it was consummated on l\/larch 2 and

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withheld their knowledge from Universal until they had secured the benefit of the more than
$220 million that Universal paid to obtain APS and (in the case of the individual Defendants)
obtained lucrative compensation packages

72. In addition to the implosion of APS’s business and business prospects APS has
paid or been asked to pay penalties or restitution on multiple customer contracts is party to
litigation regarding its contract performance and compliance and has been made the subject of
government investigations These claims and inquiries concern both contracts that were in force

at the time of the merger and former contracts that had been in effect after 2006.

APS’s New Business Prospects Failed to Materialize

73. The pipelines of new business prospects that APS provided to Universal in the
course of negotiating the l\/lerger Agreement, and between the execution and the close of the
Merger Agreement, appeared to confirm Defendants’ misrepresentations made in the l\/lerger
Agreement and elsewhere that APS’s business and its customer relationships were sound.
Those pipelines listed more than 30 new contracts that APS claimed it would more than likely
obtain in 2012. In the year since the merger, APS failed to win all but two of these contracts
which generated a mere $350,000 of EBlTDA in 2012.

74. Universal understood that there could be no guarantee that all of the projected
new business would materialize lt did, however, rely upon APS to provide accurate statements
of current facts on the health of its business and its relationships with customers and potential
customers and good-faith expressions of its opinions as to the likelihood of being awarded the
contracts described on the new business pipeline On the contrary, as Universal has since
learned, the pipelines that APS and the Individual Defendants presented to it fraudulently
mischaracterized APS’s prospects of obtaining new business including by listing a prospective

contract that APS knew it had lost. The pipelines also fraudulently concealed that APS’s
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performance of its existing contracts with state l\/led.icaid agencies and private health plans was
materially deficient, because they were built upon the false premise that APS’s customers were
satisfied with APS’s service

75. APS’s sales team kept track of new business opportunities by inputting data into a
database program called “salesforce.com.” Each month, a printout of the salesforce.com report
was provided to APS’s senior managers including the Individual Defendants McDonough
relied on the salesforce.com printouts to inform his preparation of materials regarding
prospective new business for APS’s Board of Directors.

76. The reports generated by salesforce.com included, among other data, entries for
the level of confidence that the contract would be awarded to APS, expressed as a percentage
The sales representatives who were in direct contact with the customers and prospective
customers were required to update the entries for their new business opportunities on a weekly
basis

77. Defendants Vaccaro and l\/chonough prepared the new business pipelines given
to Universal by looking at the salesforce.com reports However, instead of using the confidence
levels assigned to the prospective contracts in those reports Vaccaro and i\/chonough, with the
knowledge and approval of Scott, systematically and fraudulently increased the probabilities of
being awarded new business and the amount of that business in the pipelines given to Universal,
without making any effort to reconcile their phony predictions with the very different views of
the sales representatives and APS’s senior development executives

78. For example as described in paragraphs 46 and 48, above McDonough’s initial
draft of the pipeline that was presented to Universal on November 22, 2011 projected only $18.1

million EBITDA from new business but after the Defendants conferred, they gave Universal a

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radically different document projecting $28.6 million EBlTDA. The sham increase is
attributable in large part to three changes:

(a) adding four new or expanded contracts with Customer B. APS had been having
difficulties implementing its existing contract with Customer B for services in California and had
received written notice of material deficiencies in its performance Nonetheless the November
22 pipeline given to Universal projected several million in EBlTDA from Customer B contracts
that were falsely assigned probabilities of 75% to 90%. As APS predicted internally (but failed
to tell Universal), none of these contracts was awarded to APS;

(b) elevating the likelihood of the Dual Eligible contract for Customer F to “greater
than 90%” nom “less than 50%,” even though Customer F had not yet even issued an RFP for
that contract, Customer F had expressed dissatisfaction with APS’s performance on its existing
contract, and the internal salesforce.com documents continued to show only a 10 percent chance
of APS’s winning the Dual Eligible contract Customer F never awarded a Dual Eligible
contract to APS; and

(c) adding more than $1 million ofEBlTDA for a new contract with Customer R and
assessing the probability of being awarded that contract as greater than 90%, even though the bid
had been submitted only the day before on November 21, 201 l, and the APS sales
representative was told that while the proposal “look[ed] good,” the state “won’t know anything
definite until early next week.” This contract was not awarded to APS.

79. Additionally, the chart below shows some of the enormous and inexplicable
discrepancies between the December 30 Pipeline given to Universal less than two weeks before

the l\/[erger Agreernent was executed, and the internal salesforce.com pipeline at that time:

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Pmbability Annual Rcvenue
Contracl Given to ": " n irs :':' Given to ' ' :i:. _ _

Universal Universal _ internal
Customer](LA Duals) 75% to 9()% :' $11,900 _ 5. $]j,'U_O-U_
customer > 90% ;§ _ _ s5,000 §s?s;ooo;_ss,ooo?§
Customerr(nuainugibies) ' > 90% s14,400 -ii”-none§'liisit'éd
Customern(m) rs%ro 90% sacco ' f?°sz,?soo`
Customeri,(ou) _ rs%ro 90% 36,000 amended
Cusa)mein(sc)3 '75%1;0 90% s700 §f§§§?¥ t §-'-`;i-§_;l
Customerl\/i > 90% ::;_ ._ $4,0.00 _ $1,000
customers(vA) 75%:0 90% 1 s6,000 l ' YY-*:§fsa-;Si)a
Customer] (THM) ’75% to 90% $10,000 l -;'f none listed

80. The entries for potential contracts with Customer B in South Carolina, indiana

and Virginia were particularly misleading, since Customer B had said that it would not partner
with APS in South Carolina and that it would sign no new contracts with APS until the Company
had resolved its performance shortcoming in California. Shockingly, Defendants fraudulently
listed four separate opportunities with Customer B on the December 30 Pipeline.

81. Similarly, the February 2 Pipelinewthe last pipeline provided to Universal before
closing_was engineered to hide the significant decline in APS’s existing relationships with
customers and in APS’s prospects since the December 30 Pipeline had been submitted to
Universal:

(a) Since the time of the December 30 Pipeline APS had lost the Customer B
contract in California and could no longer pretend to have any prospect of winning contracts
with Customer B in other states In addition, many states had postponed the timing for their

REPs, delaying the dates on which APS could begin to see revenue from those contracts even if

 

The Customer .K opportunity was for two separate contracts APS knew that one of those
contracts would not even be put out for bid until 2012.

3 The Customer B contract for South Carolina listed in the December 30 Pipeline did not even
appear on APS’ s salesforce.com pipeline at the time because Customer B already had said it
would not be awarded to APS.

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they were awarded to APS alter a highly competitive bidding process As a result, the 2012
E`Bl”i`DA projected on the December 30 Pipeline should have been reduced by 338 million, or
almost 3 0%.

(b) Defendant McDonough, with the approval ot` Defendants Scott and Vaccaro,
added eight purported new prospective contracts to the February 2 Pipeline that would be
submitted to Universal to conceal the t`ull extent of the decline in prospective new business. As a
result of these bogus additions, the 2012 EBlTDA projected on the February 2 Pipeline was only
$2 million less than the 2012 EBITDA projected on the December 30 Pipeline.

(c) Most of the eight newly-added prospects had been known to APS for months, yet
APS added them to the February 2 Pipeline even though (i) no objective event had occurred to
make them more probable of being awarded to APS and (ii) APS’s sales force did not view them
as likely to be awarded to APS.

82. The following chart shows some of the new irreconcilable difierences between
the February 2 Pipeline, given to Universal one month before the merger closed, and the internal

salesforce.com tigures:

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Probability Annual Revenue

Contract Giyen to ' n """ Given to APS Internal _-
Universal' Universal . .- . _ - .;;

Customer l (Dual Eligibles) 75% to 90% i§`§i' $5,5_00 '.none.listedf
Custom@ra(i)uaisugibies) > 90% si4,000 iii '$12;_600"
Customeri\i(t)uai'eugibies) so%ro 75% _ .. _ _ $8,600 l nonei_i§jz¢d`i
Customero(Duair~;ngibies)“ 75%§0 90% 310,000 -
Customerp(ouaisngibles) 75%t0 90% ?-' i § ` -_ 2§0§%§; ss,eoo §;_;_;ii@ne§usr_@d
csa@mero 50%1075% if 30/ sir)`,ooo §§?§i: E§f_-is_e-,oo_o;

83. lt` not for Defendants’ machinationsJ the February 2 Pipeline would have shown a

steep decline from the December 30 Pipeline and Universal would have known that APS’s

 

4 The Customer O Dual Eligibles contract listed in the February 2 Pipeline did not even appear on
APS’s salesforce.com pipeline at the time.

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business relationships with existing customers and new business prospects were in doubt.
Universal relied on APS’s false representations that APS’s business and its relationships with
existing and prospective customers were robust and unimpaired in deciding to close the merger.
84. The Defendants never gave Universal a current salesforce.com pipeline, though
Universal had requested one from Defendant McDonough prior to executing the Merger
Agreement. This omission was a deliberate part of Defendants’ campaign of deception and
concealmentl ln an email exchange on February `l , 2012, alter Universal’s chairman had asked
for a “pipeline report,” Defendant l\/[cDonough told Defendant Vaccaro that he did not want to
send Universal a salesforce.com printout because that would “bring up more questions” and

“open up a hornet’s nest.”

Software Misrepresentations

85. During meetings and in written presentations to Universal, Defendants touted its
purportedly proprietary Software as the “chassis” of APS’s service business ln the course cf
their discussions with Universal, Defendants were told that this “chassis” was of interest to
Universal not only as the foundation of APS’s existing business, but also because Universal
planned to modify the Software so that it could be used in Universal’s other business lines.

86. Critically, Universal’s plan to modify the Software for use in its other businesses
depended on having outright ownership of the software without restrictions ln its written
presentations to Universal on August 18, 2011 and October 7, 201 l, APS described the Software
as “proprietary,” Section 3.16(a) of the Merger Agreement represents that “Section 3.16(a) of
the Company Disclosure Letter sets forth a complete and correct list of the following categories
of lnteliectual Property Rights that are owned by the Company and its Subsidiaries: . . . (v)
Software.” ln Section 3.16(a) of the Company Disclosure Letter, APS expressly warranted that

the Software is “Owned Software.” Section 3.16(a) of the Company Disclosure Letter separately
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lists “Licensed Software,” thereby representing that items listed as “Owned Software” are not
licensed.

87. ln the course of its due diligence, Universal learned that the Software was subject
to a Software License, Consulting and Maintenance Agreement, dated as ofl.\/Iarch 31, 2006, by
and between innovative Resource Group, LLC d/'b/a APS Healthcare and the Licensor (the
“Soii;ware License”). On December 28, 2011, during a due diligence conference call on
intellectual property issues with Universal’s counsel, an APS in-house lawyer stated that the
software covered by the Software License was only a “srnall componen ” of APS’s purportedly
proprietary Software

88. Several months after the merger closed, APS began to develop plans for a new
version of the Software. In the course of this development, Universal was told that the software
subject to the Software License was not, in fact, a “small component” of the Software Rather,
APS now acknowledges that the Software License provides the “nucleus” of the Software and
constitutes at least 50 percent of its code. APS personnel have estimated that it would cost
Universal millions of dollars to design the Software without reliance on the code that is subject

to the Software License.

Defendants’ Material Misrepresentations and Omissions

89. The Defendants made numerous material misrepresentations to Universal prior to
execution of the Merger Agreenient, in the Merger Agreernent itself, and afterwardsJ and also
omitted to disclose material facts necessary to prevent other representations from being
misleading

90. The Merger Agreement and Company Disclosure Letter contained the following
material misrepresentations and omissions, among others. Where a contractual provision

imposed an obligation on APS to disclose certain facts in the Company Disclosure Letter, the
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failure to disclose those facts was both a material omission and a material misrepresentation that
such facts did not exist.

(a) The Merger Agreement and Company Disclosure Letter misrepresented that APS
was in compliance with its contract with its largest customer, Customer A, and omitted any
reference to several of the deficiencies discussed during Defendants Scott and Vaccaro’s meeting
with Customer A on November 22, 2011, in which Customer A stated its intent to send APS a
deficiency letter and impose a line (collectively, the “Customer A Violations”). The Company
Disclosure Letter’s statement that APS was “discussing the appropriate measure of network
adequacy (for providers with multiple offices)” with Customer A was deliberately misleading in
light of Customer A’s clear statements that APS was in breach of numerous contract provisions
at the November 22 meeting with APS. These misrepresentations and omissions were material,
and disclosure of the meeting with Customer A was necessary to make other disclosures not
misleading, because, among other things, Universal had specifically asked APS to be prepared to
talk about any problems with respect to the Customer A contract at the meeting among APS,
GTCR, and Universal on November 22. The truth came to light with Customer A’s letters of
l\/larch 16, May 18, and J unc 22, detailing APS’s breaches of its contract with Customer A and
demanding a $5 million penalty. APS misrepresented in the Merger Agreement and Company
Disclosure Letter that no such conditions existed APS had an obligation to provide this
information under the Merger Agreement.

(b) The Merger Agreement and Company Disclosure Letter misrepresented that APS
was in compliance with its material customer contracts and omitted any reference to certain of
the material deficiencies identified by Customer B in its Corrective Action Plan for APS (the

“Customer B Deiiciencies”). APS misrepresented in the Merger Agreement and Company

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Disclosure Letter that no such conditions existed APS had an obligation to provide this
information under the Merger Agreement.

(c) The Merger Agreement and Company Disclosure Letter did not disclose the
adverse effect of Customer D’s interpretation of its contract with APS, which eviscerated the
profitability of that contract (the “Customer D Shortfall”).

(d) The Merger Agreement and Company Disclosure Letter did not disclose the
adverse effect of the settlement Customer E had reached with private plaintiffs regarding its
ADHC program (the “Customer E Settlement”). Both McDonough and Vaccaro received
assessments from APS personnel on or around November 29, 2011, in which they were told that
APS was likely to lose business as a result of the settlement and that the settlement created great
uncertainty. APS misrepresented in the Merger Agreement and Company Disclosure Letter that
no such conditions existed. APS had an obligation to provide this information under the Merger
Agreeinent.

(e) In Section 3.16 of the Merger Agreement and Company Disclosure Letter, APS
misrepresented that it owned the Software that formed the core of its business (the “Software
Misrepresentation”). This representation was false because over half of the code in the Software
is subject to the Software Llcense.

(f) Contrary to representations in the Merger Agreement and the Company
Disclosure Letter, APS was in breach of its contract with Customer l (the “Customer l Breach”).
These breaches were uncovered by an audit performed by Ernst & Young. APS had an
obligation to disclose any material breaches under the Merger Agreement.

(g) Contrary to representations in the Merger Agreement and the Company

Disclosure Letter, APS was in breach of its Sl\/[I contract with Customer E (the “SMl Breach”).

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These breaches were uncovered by an audit performed by Ernst & Young. APS had an
obligation to disclose any material breaches under the Merger Agreement.

(h) The Merger Agreement and Company Disclosure Letter failed to disclose that
APS was in breach of its Disease Management and Case Management contract with Customer S
(the “Customer S Breach”). These breaches were uncovered by an internal audit performed by
APS after the merger closed. APS had an obligation to disclose any material breaches under the
Merger Agreement.

(i) The Merger Agreement and Company Disclosure Let‘ter did not disclose other
facts that are the subject of pending litigation and government investigations

91. The Officer’s Certificate signed by Defendant Scott and provided by APS to
Universal at Closing on March 2, 2012 contained the following material misrepresentations and
omissions among others, in breach of APS’s obligations under the Merger Agreement:

(a) The Officer’s Certificate failed to disclose the ongoing Customer A Violation.

(b) The Officer’s Certificate failed to disclose the expected adverse effect of the
Customer E Settlement, which had been approved by the court in January 2012 after the Merger
Agreement had been signed.

(c) The Officer’s Certificate failed to disclose that on or about January 20, 2012, APS
was informed that Customer E would cut the revenue for its CMSP contract in half from $4.1
million to $2 million (the “CMSP Reduction”).

(d) The Officer’s Certificate failed to disclose the Customer B Deficiencies and the
fact that Customer B’s post-termination letter on or about February 15, 2012 confirmed that such
deficiencies were material

(e) The Officer’s Certificate failed to disclose that the 2012 Budget was no longer
accurate because it assumed income throughout the year from the Customer C contract that had

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been set for rebid (the “Custorner C Rebid”) even though the rebid was made under
mmmmmm%dmwmmthSwanmwmd

(f) The Officer’s Certificate failed to disclose the ongoing Customer l Breach.

(g) The Officer’s Certificate failed to disclose the ongoing SMl Breach.

(h) The Officer’s Certificate failed to disclose the Customer D Shortfall.

(i) The Officer’s Certificate failed to disclose that the Company learned in a meeting
with Customer H during the week of January 17, 2012, that the implementation of its contract
with Customer H was not proceeding according to APS’s expectations or the RFP (the
“Customer H implementation Problems”) and that as a result the Company would experience a
significant shortfall relative to the earnings for the Customer H contract that it had projected in
its budget for 2012 (the “Customer H Shortfall”). The 2012 budget’s projection of the cost of
performing the Customer H Utiliz.ation Management contract was based on an assumption that
Customer H had mandated that providers use APS’s web portal, which was false (the “False
Customer H Portal Assumption”).

(j) The Officer’s Certificate failed to disclose that on or about February 6, 2012, APS
learned that one of its competitors had been selected for the renewal of a PHl\/l contract with
Customer G for a term beginning July 1, 20l2 (the “Customer G Termination”), and that,
because that contract had been included in APS’s 2012 Budget, this event would cause APS to
experience a shortfall to its 2012 Budget.

(k) The Officer’s Certificate failed to disclose that, as Defendants well knew, the
Company had made a $1.5 million error in calculating benefits as part of its contract with
Customer A for 2012 and therefore the 2012 Budget was overstated by $l.S million (the
“Customer A Budget Error”).

(l) The Officer’s Certificate failed to disclose the ongoing Customer S Breach.

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(m) The Officer’s Certificate failed to disclose that the foregoing matters, individually
and collectively, could have a material adverse effect on the Company’s business and
affirmatively misrepresented the absence of a material adverse effect.

92, The 2012 Budget that APS sent to Universal on December 30, 2011 contained the
following material misrepresentations and omissions among others:

(a) The 2012 Budget failed accurately to reflect the adverse effect of the Customer E
Settlement on the revenue and EBITDA from the ADHC contract with Customer E.

(b) The 2012 Budget assumed that APS would retain the PHM contract with
Customer G, thereby failing accurately to reflect APS’s belief that it had already failed to
become a finalist for the rebid on that contract

(c) "l` he 2012 Budget reflected a baseless assumption that APS would achieve $l9.3
million EBlTDA from new business

93. The August Presentation contained the following material misrepresentations and
omissions among othe'rs:

(a) The pipeline intentionally overstated the revenues and probabilities shown in
APS’s own internal records for many of the listed contracts and was not a good-faith assessment
of the likelihood of specific contracts’ ability to generate 2012 EBITDA contributions

(b) The pipeline was intentionally overstated because it contemplated several new
contracts with Customer B, while APS knew that its existing contract with Customer B in
California was troubled

(c) The presentation intentionally misrepresented that the contract with Customer D
provided APS with millions of dollars in annual EBITDA. This was false and misleading

because APS, the GTCR Defendants and the lndividual Defendants knew that APS had

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seriously underestimated the cost of performing its contract for Customer D, and of the resulting
Customer D Shortfall.

94. The October Presentation made the following material misrepresentations and
emissions among others:

(a) The pipeline intentionally failed to reflect the individual Defendants’ assessment
that APS would see $5.2 million less in EBlTDA in 2012 from its new business pipeline than
had been projected in the August Presentation.

(b) The pipeline intentionally overstated the revenues and probabilities shown in
APS’s own internal records for many of the listed contracts and was not a good-faith assessment
of the likelihood of specific contracts’ ability to generate 2012 EBlTDA contribution

(c) The pipeline was intentionally overstated because Customer B was dissatisfied
with APS’s performance on its existing contract and had already told APS that it would not
partner with APS in South Carolina.

(d) The October Presentation also intentionally misrepresented that the Customer D
contract provided APS with several million dollars in annual EBITDA. This representation was
false and misleading because of the Customer D ShortfallJ as described above.

95. At the November Meeting and in the pipeline presented to Universal at the
November Meeting, the lndividual Defendants APSJ and the GTCR Defendants made the
following material misrepresentations and omissions among others:

(a) The Defendants omitted any disclosure of Scott’s and Vaccaro’s meeting with
Customer A or the Customer A Violations.

(b) The pipeline provided to Universal at the November Meeting intentionally

overstated the revenues and probabilities shown in APS’s own internal records for many of the

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listed contracts and was not a good-faith assessment of the likelihood of specific contracts’
ability to generate 2012 EBITDA contribution

(c) The pipeline was intentionally overstated because it contemplated several new
contracts with Customer B, while APS knew that Customer B was dissatisfied with APS’s
performance on its existing California contract, that Customer B had declined to partner with
APS in South Carolina, and that Customer B would not award any more contracts to APS until
APS had remedied its deficient performance in California.

(d) The pipeline was intentionally overstated because it stated that a contract with
Customer R was “Highly Likely” to be awarded to APS when APS had not received any
response to its bid, which had been submitted just one day earlier.

(e) After being confronted with Customer F’s decision to move to managed care,
which they did not disclose to Universal, Defendants asserted without any basis that APS would
see increased revenues from Customer F.

96. The December 30 Pipeline contained the following material misrepresentations
and omissions among others:

(a) The December 30 Pipeline intentionally overstated the revenues and probabilities
shown in APS’s own internal records for many of the listed contracts and was not a good-faith
assessment of the likelihood of specific contracts’ ability to generate 20l2 EBITDA contribution

(b) The December 30 Pipeline was intentionally overstated because it contemplated
several new contracts with Customer B, while APS knew that Customer 13 was dissatisfied with
APS’s performance on its existing California contract, that Customer B had declined to partner
with APS in South Carolina, and that Customer B would not award any more contracts to APS

until APS had remedied its deficient performance in California.

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97. The February 2 Pipeline contained the following material misrepresentations and
omissions among others:

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shown in APS’s own internal records for many of the listed contracts and was not a good-faith
assessment of the likelihood of specific contracts’ ability to generate 2012 EBlTDA contribution

(b) The individual Defendants intentionally failed to disclose adverse developments
that were known to them or reflected in the salesforce.com pipelines that they had received For
instance, the salesforce.com pipeline in early February 2012 noted that on or about January 20,
2012, APS was informed that the revenue for the CMSP contract with Customer E would be cut
in half, but the pipeline provided to Universal still reflected the old (and higher) revenue figure

(c) The lndividual Defendants inflated the February 2 Pipeline by adding several new
prospective contracts without justification to cover up the fact that the projected EBlTDA from
new business would otherwise have dropped dramatically because of the loss of APS’s existing
and prospective contracts with Customer B.

98. Defendant McDonough misrepresented to Universal on December 13, 2011 that
the Customer 13 Sett]ernent had only upside potential for APS. This was false because in fact the
Customer E Settlement would more likely decrease APS’s income, as described above.

99. On January 4, 2012, APS executives (including Defendants Scott and Vaccaro)
mmwMwammmmhwm%mwdmeSmmmmwmdmymmmwmgmnMcmmmww
programs identified as part of the False Claims Act case and that APS was in compliance with its
contracts and all applicable laws Defendant Katz participated in this meeting by telephonel

100. in two separate phone calls on or around February 14, 2012 and February 29,
2012, Defendant l\/chonough made the following material misrepresentations and omissions
among others:

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(a) Defendant McDonough reaffirmed all of the false and misleading statements and
omissions in the 2012 Budget as described above, and failed to disclose changes in
circumstances that rendered prior statements inaccurate

(b) Defendant l\/chonough failed to disclose the Customer C Rebid.

(c) Defendant McDonough failed to disclose the Customer H lmplementation
Problems, the Customer H Shortfall, and the False Customer H Portal Assumption.

(d) Defendant McDonough failed to disclose the Customer G ”l`ermination and the
Customer G Budget Shortfall.

(e) Defendant McDonough failed to disclose to Universal that the 2012 Budget
contained a $1.5 million overstatement of earnings from Customer A, despite the fact that such
disclosure was required in order to make the previous disclosure of the budget not misleadingl

`101. APS and the 1ndividual Defendants had an obligation to disclose the Customer C
Rebid because they had represented to Universal in the August Presentation, the October
Presentation and the 2012 Budget that APS had won the Customer C contract. Their failures to

correct these statements constitute a material omission.

Defendants’ Material Misrepresentations and Omissions Were Made with Scienter

102, As described above, the foregoing misrepresentations and omissions were made
knowingly and intentionally in the alternative, the misrepresentations and omissions were made
with reckless indifference as to their truth or falsity because the Defendants failed to obtain
sufficient information about the Company’s operations to prepare an accurate 2012 budget, new
business pipelines or an accurate description of the Company’s ongoing business

103. As described below, the Defendants also had the motive and opportunity to

defraud Universal

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104. As a result of the sale of APS to Universal, each of the individual Defendants
exchanged their illiquid shares of APS for valuable and liquid Universal stock, receiving the
following consideration:

(a) Scott received a total of 175,370 shares of Universal stock, valued at more than $2
million on the Closing Date. lie also obtained 319,800 stock options

(b) Vaccaro received a total of 56,983 shares of Universal stock, valued at more than
$654,000 on the Closing Date. lie also obtained 196,800 stock options

(c) i\/chonough received a total of 24,148 shares of Universal stock, valued at more
than $277,000 on the Closing Date. lie also obtained 83,400 stock options

105 . The individual Defendants each also signed new Employment Agreements that
provided for significant increases in their annual compensation:

(a) Scott’s base salary increased from $375,000 to $530,000 per year, an increase of
4l percent.

(b) Vaccaro’s base salary increased from $335,000 to $475,000 per year, an increase
of 42 percent.

(c) l\/chonough’s base salary increased from $285,000 to $350,000 per year, an
increase of 23 percent.

106. The GTCR Defendants had the motive and opportunity to defraud Universal
because they were at risk of losing their entire investment in APS if the Company were to default
on its debt. Under the terms of the Company’s loans APS would have gone into default of its
loan covenants if 2012 EBiTDA dropped below 329 million. Given the material adverse effects
that occurred in the fall of201 l and the first two months of 2012, such a decline was a near

certainty.

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107. instead of losing their entire investment by reason of a default and subsequent
foreclosure on their equity interest, the GTCR Defendants were the beneficiaries of the $222.3
million purchase price, including approximately 377 million in Universal common stock, which
in turn provided substantial benefits not only to the GTCR Defendants’ investors but also to the
GTCR Defendants and their affiliates

108. Pursuant to a letter agreement entered as part of the merger, Defendant Katz was
designated as a member of Universal’s Board of Directors. in connection with this appointment,
Katz has received valuable compensation, as well as the prestige of serving as a director of a
publicly traded company. ln particular, Katz received a total of $li'2,000 in fees stock awards
and options awards during 2012 in connection with his membership in Universal’s Board of
Directors. Katz retained these benefits personally, rather than instructing Universal to pay them

to a GTCR affiliate

The Role of the GTCR Defendants in the Fraud

109. The GTCR Defendants culpably participated in the fraud committed by APSLP
and the individual Defendants because, among other things:

(a) GTCR personnel were regularly apprised of APS’s business and prospects at
board meetings in emails and in telephone calls with the individual Defendants and knew the
true condition ofAPS’s business

(b) GTCR personnel reviewed and approved drafts of the presentations made to
Universal;

(c) GTCR personnel attended many of the meetings with presentations made to
Universal, including without limitation the meetings on August 18, 2011 and November 22,

2011;

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(d) GTCR personnel dealt directly with APS’s lenders knew that they were nervous
about the Company’s future and knew that another loan covenant default would spell the death
of APS and the loss of their investment;

(e) GTCR personnel directed and controlled the due diligence process and
participated in nearly all of the due diligence calls and meetings with Universal regarding the
transaction; and

(f) GTCR personnel were directly involved in every aspect of the negotiation of the
Merger Agreernent and its representations and warranties

110. GTCR’s conscious participation in the fraud is evidenced by its knowledge of
APS’s misrepresentations in the written presentations to Universal. For example, as members of
the APS board, Defendant Katz and Nolan received reports that the Customer D contract was
losing money, but reviewed and approved the August and October Presentations to Universal
that claimed the contract generated millions of dollars of EBiTDA per year. Defendant Katz and
Nolan also received reports to the APS board showing that a potential contract with Customer B
in South Carolina was no longer a prospect, but reviewed and approved new business pipelines
given to Universal showing that APS had a 75 to 90 percent chance of being awarded that
contract, And, on information and belief, Defendant Katz and Nolan were informed of the threat
that Customer A would fine APS or terminate the Customer A contract, but said nothing about
that threat to Universal.

l ll. The GTCR Defendants also stood to gain substantial compensation in the merger,
including valuable and publicly traded Universal shares as well as the right to appoint a member
to Universal’s Board of Directors. Defendant Katz was the direct beneficiary of that right, which
brought with it stock awards options awards and director fees. By contrast, if the GTCR

Defendants had not sold APS to Universal, they would have lost their entire investment

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112. The Defendants knew that the undisclosed material adverse effects that occurred
before the merger closed necessarily would have caused APS’s 2012 EBiTDA to fall below $29
million, resulting in a breach of its loan covenants and a default on its $150 million of debt. The
actual results were far worse--only $8 million of EBlTDA. When GTCR sold APS to
Universal, it knowingly and intentionally dodged a lethal bullet by putting Universal in its place.
The GTCR Defendants aided and abetted the individual Defendants’ and APSLP’s fraud with
full knowledge of the grave harm they would cause Universal and with reckless indifference to

the rights of Universal

Misrepresentations Caused Signif'rcant Losses to Universal

l13. Universal would not have purchased APS if it had known the truth about the
numerous misrepresentations and omissions described above.

114. Universal reasonably relied on each of the misrepresentations and omissions
described above.

115. Defendants’ misrepresentations omissions and breaches of the Merger
Agreement have caused Universal to suffer actual losses including without limitation:

(a) the $222.3 million purchase price paid for APS;

(b) undisclosed liabilities penalties performance guarantees and fines;

(c) expenses incurred to bring APS into compliance with customer contracts

(d) compensation paid to Defendant Katz in his capacity as a member of the
Universal Board of Directors;

(e) attorneys’ fees for lawsuits and investigations;

(f) expenses for developing new software that would not have been incurred if APS

owned the Software as represented; and

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(g) cash dividends of approximately $16 million paid to GTCR on its Universal
shares

116. The individual Defendants and APSLP perpetrated their fraud with full
knowledge of the grave harm they would cause Universal and with reckless indifference to the
rights of Universal. This outrageous deceptive conduct constitutes aggravated and gross fraud
The conduct ofall Defendants justifies an award of award of punitive damages to punish their

willful deception and to deter similar misconduct by them and by others in the future.

indemnification Under The Merger Agreement and the Limited Guaranty

ll7. in Section 8.2 of the Merger Agreement, APSLP agreed to indemnify Universal
for breaches of the representations warranties and covenants in the Merger Agreement, subject
to certain floors and caps set forth in that agreement

118. Each of the misrepresentations and omissions identified above also constitutes a
breach of the representations warranties and covenants in the Merger Agreement.

119. The parties recognized that APSLP would hold only limited assets after its shares
of APS had passed to Universal as part of the Transaction. Therefore, “[t]o induce Parent to
enter into the Merger Agreement,” the Merger Agreement and associated Limited Guaranty
provide that the GTCR Limited Guarantors “absolutely, unconditionally and irrevocably
guarantee[]” APSLP’s indemnification obligations to Universal Limited Guaranty 11 1.

120. in Section 8.2(a)(vi) of the l\/lerger Agreement, APSLP also agreed to indemnify
Universal for any Excess Performance Guarantee Amounts which the Merger Agreement
elsewhere defined as 50 percent of the amount by which APS paid performance guarantees
above the amount previously accrued or reserved Universal agreed to pay 3195,000 in excess of
the amount previously accrued or reserved with respect to a performance guarantee assessed by

Customer T.
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l2l_. On l_\/larch l, 2013, Universal delivered a demand for indemnification on APSLP,
thereby triggering its right to indemnification under the Merger Agreement and the Limited
Guaranty.

122. On August 22, 2013 and September 19, 2013, Universal delivered supplemental
demands for indemnification on APSLP, identifying additional breaches it had discovered

Count I - Securities Fraud under Section 10(b) of the Exchange Act
(Against the Individual Defendants and APSLP)

123. Plaintiff repeats each and every allegation contained above as if set forth fully
herein.

124. As set forth above, the individual Defendants and APSLP made a number of
material misstatements and omissions of material fact to the Plaintiff’s officers and agents in the
course of negotiating and signing the l\/lerger Agreement and related documents

125. These material misstatements and omissions of material fact were made in
connection with the sale ofUniversal securities which are publicly traded on a national
securities exchangel

126. The individual Defendants and APSLP made these misrepresentations with
scienter. Specifically, the facts pleaded herein give rise to a strong inference that the individual
Defendants and APSLP made the misrepresentations with the intent to defraud Plaintiff or did so
recklessly, including because they had motive and opportunity to engage in wrongful conduct

127. These misrepresentations were conveyed by means of the mails and interstate
telecommunications networks

128. As more fully described above, Plaintiff acquired APS in reliance on
representations made in the course of negotiations and set forth in the Merger Agreement.

Plaintiff’s reliance was reasonable because the misstatements by APSLP and the individual

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Defendants concerned material financial and operational information about APS that APSLP and
the individual Defendants were in a position to know and had a duty to know and to which
Universal did not have independent access lndeed, Defendants purposefully kept updates of
material adverse information from Plaintiff. Absent these misrepresentations and omissions by
APSLP and the individual Defendants and others acting on their behalf, Plaintiff would not have
acquired APS.

129. These misstatements are not subject to the Safe-Harbor for Forward Looking
Statements provision of the Exchange Act, 15 U.S.C. § 78u-5(c), because the misstatements
concerned both known facts and future predictions that Defendants knew were baseless and
material, and were not accompanied by meaningful cautionary language

130. As a direct and proximate result of the fraudulent misrepresentations regarding
the viability of APS’s business Plaintiff sustained actual damages well in excess of $l 50
million.

Count ll - Control Person Liability under Section 20(a) of the Exchange Act
(Against the GTCR Defendants)

131. Plaintiff repeats each and every allegation contained above as if set forth fully
herein.

132. A majority of the members of the APS Board of Directors were employed by or
agents of one or more of GTCR, GTCR Partners iX, or the GTCR Limited Guarantors

133. GTCR was general partner of GTCR Co-invest and GTCR Partners IX.

134. GTCR Partners iX was general partner of GTCR Fund lX/A and GTCR Fund
IX/B.

135. APSLP held APS for the benefit of the GTCR Li'mited Guarantors

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136. Defendant Katz, GTCR, GTCR Partners lX, and the GTCR Limited Guarantors
were regularly informed by APS regarding APS’s business and Defendant Katz, GTCR, GTCR
Partners lX, and the GTCR Limited Guarantors directed APS’s activities

137. The GTCR Defendants by and through Defendant Katz, l\lolanJ Earl, Kos, and
other individuals were heavily involved in the negotiations over the Transaction, controlled the
terms of the due diligence and the deal, reviewed drafts of the presentations to Plaintiff and
approved them.

138. As a result, the GTCR Defendants were controlling persons of APS within the
meaning of Section 20(a) of the Exchange Act. The GTCR Defendants were able to and did
control the content of statements made by APS to Plaintiff.

139. As more fully described above, the GTCR Defendants were aware of the
circumstances surrounding Plaintiff’ s acquisition of APS and the negotiation of the terms
thereof The GTCR Defendants were aware that APS misrepresented and omitted material
information about its financial and operational viability, and the GTCR Defendants actively and
substantially participated in those material misstatements and omissions

140. APS, though its officers and agents including the individual Defendants
knowingly violated Section l0(b) of the Exchange Act by its material misstatements and
omissions as alleged in this Complaint.

141. Plaintiff relied on APS’s misstatements in deciding to acquire APS. The GTCR
Defendants are responsible for APS’s material misstatements and omissions as control persons of
APS.

142. As a direct and proximate result of the GTCR Defendants’ conduct, .Plaintiff

sustained actual damages well in excess of 3150 million.

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Count III - Fraud
(Against the individual Defendants and APSLP)

143. Plaintiff repeats each and every allegation contained above as if set forth fully
herein.

144. As described in further detail above, the individual Defendants and APSLP made
a number of misrepresentations in the Merger Agreement and Company Disclosure Letter.

145. In addition, Defendant Scott signed the Officer’s Certificate, certifying that the
Company’s representations warranties and covenants in the Merger Agreement were true

l46. The individual Defendants and APSLP knew that the representations contained in
the l\/ierger Agreement, Company Disclosure Letter and Officer’s Certificate were false or were
misleading half-truths

147. The individual Defendants and APSLP fraudulently concealed the truth about
APS from Plaintiff, both within the Merger Agreement, Company Disclosure Letter and
Officer’s Certificate and in the course of the parties’ negotiations as described above

148. The individual Defendants and APSLP intended for Plaintiff to rely and Plaintiff
in fact reasonably relied on the misrepresentations and omissions regarding APS in deciding
whether or not to acquire APS and in deciding the appropriate consideration to be provided f`or
APS, including compensation that flowed to the individual Defendants

149. As a direct and proximate result of the fraudulent representations and omissions
Plaintiff sustained damages well in excess of $lSO million.

Count iV - Aiding and Abetting Fraud
(Against the GTCR Defendants)

150, Plaintiff repeats each and every allegation contained above as if set forth fully

herein.

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151. As described in further detail above, the individual Defendants, APS, and APSLP
committed fraud against Plaintiff by making numerous misrepresentations in the Merger
Agreement, Company Disclosure Letter and Officer’s Certificate

i52. The GTCR Defendants knew that the individual Defendants, APS, and/or APSLP
were committing fraud against Plaintiff and fraudulently concealing the truth from Plaintiff

153. The GTCR Defendants provided substantial assistance to the lndividual
Defendants, APS, and/or APSLP by, among other things, failing to correct statements made to
Universal that the GTCR Defendants knew were false.

154. As a direct and proximate result of the fraudulent representations and omissions,
Plaintiff sustained damages well in excess of $l 50 million.

Count V - Fraud in the Inducement
(Against the Individual Defendants and APSLP)

155. Plaintiff repeats each and every allegation contained above as if set forth fully
herein.

156. As described in further detail above, the lndividual Defendants and APSLP made
a number of representations in the Merger Agreement, Company Disclosure Lel:ter and Officer’s
Certificate concerning APS’s compliance with the terms of its contracts with its customers,
including without limitation Customer A, the absence of material adverse effects, and APS’s
ownership of intellectual property.

157. Defendant Scott signed the Officer’s Certificate, certifying that the Company’s
representations, warranties, and covenants in the Merger Agreement were true.

158. The lndividual Defendants and APSLP knew that the representations contained in
the Merger Agreement, Company Disclosure Letter and Officer’s Certificate were false or were

misleading haif“truths.

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159. The lndividual Defendants and APSLP fraudulently concealed the truth about
APS from Plaintiff, both within the Merger Agreernent and in the course of the parties’
negotiations, as described above.

160. The lndividual Defendants and APSLP intended for Plaintiff to rely on the
misrepresentations and omissions regarding APS in deciding whether or not to acquire APS and
Plaintiff did in fact reasonably rely on those misrepresentations and omissions

161. As a direct and proximate result of the fraudulent representations and omissions,
Plaintiff was fraudulently induced to enter into the Merger Agreement and to close the
Transaction. Plaintiff would not have acquired APS if it had known the truth. Plaintiff is
entitled to rescission or rescissory damages as a result of having been fraudulently induced to
enter into the Transaction.

Count VI - Aiding and Abetting Fraud in the Inducernent
(Against the GTCR Defendants)

162. Plaintiff repeats each and every allegation contained above as if set forth fully
herein.

163. As described in further detail above, the lndividual Defendants, APS, and APSLP
committed fraud in the inducement against Plaintiff by making numerous misrepresentations in
the Merger Agreement, Company Disclosure Letter and Officer’s Certificate

164. The GTCR Defendants knew that the lndividual Defendants, APS, and/or APSLP
were committing fraud in the inducement against Plaintiff.

165. The GTCR Defendants provided substantial assistance to the lndividual
Defendants, APS, and/or APSLP by, inter alia, failing to correct statements made to Plaintiff that
the GTCR Defendants knew were false.

`166. As a direct and proximate result of the fraudulent representations and omissions,

Plaintiff was fraudulently induced to enter into the Merger Agreement and to close the
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Transaction. Plaintiff would not have acquired APS if it had known the truth. Plaintiff is
entitled to rescission or rescissory damages as a result of having been fraudulently induced to
enter into the Transaction.

Count VII - Breach of Contract
(Against APSLP and the GTCR Lirnited Guarantors)

167. Plaintiff repeats each and every allegation contained above as if set forth fully
herein.

l68. Subject to and in the alternative to the fraud in the inducement claims above, the
Merger Agreernent and related documents including the Limited Guaranty and the Company
Disclosure Letter constitute a valid, binding, and enforceable contract by and among Plaintiff
and APSLP and the GTCR Limited Guarantors.

169. ln addition to the above~described breaches of the representations and warranties
set forth in Sections 3.9, 3.16, 3.l7, 325 and 3.29 of the Merger Agreement, the foregoing
conduct also breached the covenants set forth in Sections 5.2(a)(iii), S.Z(a)(iv), and S.Z(h) of the
Merger Agreement.

170. APSLP has breached its obligations to Plaintiff under Section S.Z(a) of the
Merger Agreement by failing to indemnify Plaintiff for losses it has incurred arising out of the
above-described breaches of the representations and warranties Set forth in Sections 3.9, 3.16,
3.17, 3.25 and 3.29 of the Merger Agreement, and in the certificate delivered pursuant to Section
6.2(i1)(i) of the Merger Agreement, as well as for losses Plaintiff has incurred arising out of the
breach of the covenants made in Sections 5.2(a)(iii), 5 .2(a)(iv), and S.Z(h) of the Merger

Agreement.

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l7l. The GTCR Limited Guarantors are conditionally liable for the above-discussed
breaches of contract to the extent APSLP does not have sufficient assets to satisfy its
indemnification obligations under the Merger Agreement.

l72. Additionally, APSLP is liable to Plaintiff for the Excess Performance Guarantee
Amount identified in its March l, 2013 demand for indemnification

l73. in the aggregate, the facts alleged above had, or would reasonably be expected to
have, a Company l\/laterial Adverse Effect, constituting a breach of the representations and
warranties made in Section 3.9 of the Merger Agreement and in the certificate delivered pursuant
to Section 6.2(h)(i) of the Merger Agreement.

l74. Plaintiff has complied in ali material respects with its obligations under the terms
of the Merger Agreement.

175. As a direct and proximate cause ofAPSLP and the GTCR Lirnited Guarantors’
breaches of the Merger Agreement, Plaintiff has sustained substantial damages

Count VIII - Conspiracy to Commit Fraud
(Against the Individual Defendants, APSLP, and the GTCR Defendants)

176. Plaintiff repeats each and every allegation contained above as if set forth fully
herein.

l77. As alleged above, the Defendants are liable for fraud and fraud in the inducementl

l78. The Defendants conspired and combined with one another for the unlawful
purpose of defrauding Universal.

179. Plaintiff has suffered substantial damage as a result of Defendants’ fraud and

unlawful conspiracy to commit fraud.

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Count IX _ Unjust Enrichment and Constructive Trust
(Against the lndividual Defendants, APSLP, and the GTCR Defendants)

180. Plaintiff repeats each and every allegation contained above as if set forth fully
herein.

181 . The Defendants obtained Universal shares through the fraudulent and deceptive
acts described above.

182. Since the Defendants obtained the Universal shares by fraud, Plaintiff has issued
dividends to record owners of its common stock.

183. Because the Defendants obtained their Universal shares and dividend payments
through fraudulent, unfair, and unconscionable conduct, they have been unjustly enriched at
Plaintiff s expensel

184. lmposition of the constructive trust is necessary to prevent Defendants from
unfairly profiting as a result of their fraudulent acts.

185 . This Court should impose a constructive trust in favor of Universal on the
Universal shares obtained by the lndividual Defendants, APSLP, and the GTCR Defendants, and
upon all proceeds derived therefrom, including dividend payments received by the Defendants as

owners or beneficial owners of Universal shares.

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WHEREFORE, Plaintiff prays for relief and judgment, as follows:

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21.

awarding all damages, including rescissory damages, expectation
damages, and compensatory damages, and other remedies set forth in the
Exchange Act, in favor of Plaintiff in an amount to be proven at trial,
including interest thereon;

imposing a constructive trust upon the Universal shares obtained by the
Defendants as a consequence of the Merger Agreement, and upon all
dividends paid or payable with respect to those shares;

rescinding the Merger Agreement;

in the alternative, awarding rescissory damages because Plaintiff was
fraudulently induced to enter the Transaction but rescission would be
impractical at this point in time;

indemnifying Plaintiff for all losses resulting from any breach of the
Merger Agreement;

awarding punitive damages in an amount to be determined at trial; and

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g. awarding such other and further relief as the Court may deem just and

proper.

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Dated: October 22, 2013

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